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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
______________________________________
                                       )
UNITED STATES OF AMERICA,              )
                                       )
v.                                     )                   Case No. 1:21-cr-00225-DLF
                                       )
TRENISS JEWELL EVANS III,              )
                                       )
                Defendant.             )
______________________________________ )


             MOTION FOR EXTENSION OF TIME TO FILE SENTENCING
                  MATERIAL AND TO ADJOURN SENTENCING

TO THE HONORABLE DABNEY L. FRIEDRICH,
UNITED STATES DISTRICT JUDGE
FOR THE DISTRICT OF COLUMBIA:



       Now comes Defendant, TRENISS JEWELL EVANS III, by and through his undersigned

counsel, and respectfully moves this Honorable Court for an order granting Defendant Evans a 30-

day extension of time to file sentencing material. Further, it is respectfully requested that

sentencing be adjourned from June 28, 2022 to August 3, 2022.

                                               I.

       Defendant Evans’s Sentencing is currently scheduled for June 28, 2022, at 1:00 p.m. via

videoconference. (See May 25, 2022 Doc. Ent.).

                                              II.

       A Final Presentence Investigation Report (hereafter “PSR”) was filed, yesterday, on June

14, 2022. (Doc. Ent. 46).




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                                                III.

       On May 16, 2022 the Government filed its Sentencing Memorandum, with 23 exhibits and

video exhibits. (See Doc. Ent’s. 40-41). On May 20, 2022, the government then supplemented its

Sentencing Memorandum. (Doc. Ent. 44).

                                                IV.

       We acknowledge that this is Defendant Evans’s second to extend his sentence. Defendant

respectfully submits that the most recent change in counsel, was necessary because his prior

counsel’s inaction in addressing Defendant’s concerns coupled with the failure to communication

and adequately prepare for sentencing.

                                                 V.

       First, undersigned counsel respectfully requests a continuance as to properly review all

objections previously made to the prior PSR; and, compare such with the “final” PSR, as to

determine no unresolved factual or legal issues exist or remain.

                                                VI.

       Second, undersigned counsel respectfully requests a continuance as to properly investigate

and prepare a response to the Government’s allegations. The supplemental government filing, in

particular, has raised substantial safety concerns to Mr. Evans and his family, which much be

further addressed, as this Court’s June 8, 2022 ruling was made “without prejudice”.

                                                VII.

       Undersigned Counsel respectfully requests that Defendant Evans sentencing be adjourned

to August 3, 2022 at 12:00 p.m., based in part that counsel has not had a reasonable opportunity to

comply with the procedural mandates of LCrC 32.2(c) which states:

               Not less than 7 days prior to the date of the sentencing, the probation
               officer shall submit the final presentensing report to the sentencing

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               judge. The report shall be accompanied by an addendum setting
               forth any objections counsel may have made that have not been
               resolved in the report, together with the officer's comments thereon.
               The probation officer shall certify that the contents of the final
               presentence report have been disclosed to the defendant and to
               counsel for the defendant and prosecution, that the addendum has
               been communicated to counsel, and the addendum fairly states any
               remaining objections.

The Sixth Amendment imposes on counsel a duty to investigate, because reasonably effective

assistance must be based on professional decisions and informed legal choices can be made only

after investigation of options. Strickland v. Washington, 466 U.S. 668 (1984).

                                                VIII.

       Today, undersigned counsel emailed and telephoned Assistant U.S. Attorney Francesco

Valentini. AUSA Valentini stated that the government will not consent to the instant request, and

“expects to oppose” any further continuing of Mr. Evens’ sentencing. However, AUSA Valentini

did convey that the government may reconsider its position upon proper review of the instant

application.

                                                 IX.

       This motion is made not for the purposes of delay, but rather is made predicated upon the

public safety concerns of the Evans family in whole and Mr. Evans’ Sixth Amendment right to his

choice of counsel for this crucial stage in the proceeding.

       Again, we fully understand that a prior request was made for extension by prior counsel.

However, in light of the totality of events that have occurred since the government’s supplemental

sentencing memorandum, Mr. Evans’s entire case needs to be reevaluated. Mr. Evans is entitled

to a diligent review of any and all relevant records that may assist him at sentencing. There are

countless examples of how prior counsel was not prepared to meet today’s deadline, but in the

interest of judicial economy, we will keep it brief.

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                                                X.

       The last few weeks have completely changed the landscape on how Mr. Evans wishes to

proceed with sentencing, and he should be afforded one last chance to have counsel who will

zealously defend his position. The last few weeks have also substantiated that the lack of

performance and communication by prior counsel have inevitably result in public safety concerns

for the Evans family and severe prejudice to the defendant.

                                                XI.

       Defendant Evans is the only party who will be prejudiced if this request is denied. We

respectfully ask this Court to not let his prior counsel’s performance or lack thereof prejudice Mr.

Evans and be held against him.


       Defendant, TRENISS JEWELL EVANS III respectfully requests this Honorable Court to

grant this Motion for Continuance, and for such other and further relief as this Honorable Court

deems just and proper.



Date: June 15, 2022                           Respectfully Submitted,



                                              /s/ Steven Alan Metcalf II
                                              _______________________________

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                                              Counsel for Defendant Treniss Jewell Evans III



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                                CERTIFICATE OF SERVICE


       I hereby certify that, on June 15, 2022, this motion was filed via the Court’s electronic

filing system, which constitutes service upon all counsel of record.

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                                             /s/ Steven Alan Metcalf II
                                             _______________________________

                                             STEVEN A. METCALF II, ESQ.


                                             Counsel for Defendant Treniss Jewell Evans III




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